                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS

ALVA ADVANCE LLC,                )
                                 )
     Petitioner,                 )
                                 )
                 v.              )   Civil Action No. 1:23-cv-10189-AK
                                 )
                                 )
WILLIAM H III ALTIERI            )
     Respondent,                 )
                                 )
      AFFIDAVIT IN SUPPORT OF MOTION FOR ENTRY OF DEFAULT


    I, Matthew S. Szafranski, being duly sworn and state the following:

    1. I am the attorney for the Petitioner in the above-titled action and I am familiar with

       the file, records and pleadings in this matter.

    2. The summons and complaint were filed on January 26, 2023

    3. Respondent was served with a copy of the summons and complaint on February 7,

       2023, as reflected on the docket sheet by the proof of service filed on February 20,

       2023.

    4. An answer to the complaint was due on February 28, 2023.

    5. Respondent has failed to appear, plead or otherwise defend within the time allowed

       and, therefore, is now in default.

    6. Petitioner requests that the clerk of court enter default against the Respondent.
                      Respectfully submitted,
                      ALVA ADVANCE, LLC.

                      By its Attorneys,

                      /s/ Matthew S. Szafranski
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DATED March 3, 2023
